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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          Case No. 20-21553-Civ-COOKE/GOODMAN

   PATRICK GAYLE, et al.,

          Petitioners-Plaintiffs, on behalf of
          themselves and those similarly situated,

   v.

   MICHAEL W. MEADE, et al.,

         Respondents-Defendants.
   ______________________________________/

                     PETITIONERS-PLAINTIFFS’ MEMORANDUM
                   REGARDING MONEY V. PRITZKER IN RESPONSE TO
                      POST-HEARING ADMINISTRATIVE ORDER

          Per the Court’s invitation, this memorandum briefly addresses whether Money v.

   Pritzker, et al., No. 20-cv-2093, 2020 WL 1820660 (N.D. Ill. Apr. 10, 2020), impacts this

   Court’s class certification analysis. [See ECF 99]. As explained below, it does not. The

   district court in Money ruled that class certification was improper because the sole relief the

   plaintiffs sought was release from confinement. And the district court ruled that with that

   framing, the case was not amenable to class certification “because the possibility of release is

   an inherently inmate-specific inquiry.” 2020 WL 1820660, at *2. But here, Petitioners-

   Plaintiffs challenge ICE’s general failure to protect them from the risk of COVID-19 infection.

   And the Court can—and already has—ordered relief that inures to the benefit of the Named

   Petitioners-Plaintiffs and the Class Members alike. [ECF 76.]1



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          At the May 14 class certification hearing, there was discussion of whether ECF 76
   granted a preliminary injunction in addition to a temporary restraining order. On May 15,
   the Court entered an Endorsed Order [ECF 101] making clear that ECF 76 is a “TRO” and

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          The Money plaintiffs are serving criminal sentences in state custody and brought a

   habeas corpus action against the Illinois Department of Corrections and other state

   defendants. Id. at *2. In framing their claims, the district court was careful to note that the

   plaintiffs did “not ask to improve the cleanliness of the prisons, or increase the amount of

   space between inmates at each facility, and so on.” Id. at 1. Instead, the plaintiffs asked the

   court “to force the state executive branch to start a process for the potential release of

   thousands of inmates, through medical furlough or home detention under state law, and do

   so within one week.” Id. The district court denied certification because that plaintiffs did not

   satisfy Rule 23(a)’s commonality requirement. Id. at *14-15.

          Crucial to this determination was the specific relief the plaintiffs’ sought: release. As

   the court explained, this would necessarily require the court to analyze a host of factors and

   interests as to each class member:

          [T]he public interest—which must be taken into account when considering a
          TRO or preliminary injunction—mandates individualized consideration of any
          inmate’s suitability for release and on what conditions, for the safety of the
          inmate, the inmate's family, and the public at large. From the inmate’s
          perspective, his or her own health status at the relevant time is paramount. Any
          inmate who is exhibiting symptoms of infection may be more suitable for
          quarantine or even transfer to a hospital. From the family perspective, an
          inmate who has been exposed to someone (inmate or IDOC personnel) who
          has tested positive may not be suitable for furlough, particularly if the inmate’s
          proposed destination is a residence already occupied by someone equally or
          more vulnerable. And from the public’s perspective, it is important to bear in
          mind that some portion of the incarcerated population has been convicted of
          the most serious crimes—murder, rape, domestic battery, and so on. Seven of
          the ten named Plaintiffs in fact are serving time for murder. As Plaintiffs rightly
          acknowledge, some release orders would be appropriate only with conditions,
          such as home detention or lesser forms of supervision. And those conditions
          can only be imposed with resources (e.g., electronic monitors) and personnel,




   that the motion for preliminary injunction is still pending. The undersigned counsel therefore
   stands corrected.

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          who are both limited in supply and also subject to the same social distancing
          imperatives as everyone else.

   Id. at *14. The court thus ruled that this “imperative of individualized determinations”

   defeated commonality and, thus, class certification. Id. at *15.

          But this case is quite different. While Petitioners-Plaintiffs seek release, lacking that

   they also seek equitable relief forcing ICE to comply with its obligations under the Fifth and

   Eighth Amendments and under the CDC Guidelines and other binding guidelines under the

   Accardi doctrine. [ECF 81 at 8.] Petitioners-Plaintiffs argue that ICE is denying proposed

   class members “the same opportunity to socially distance, the same soap and cleaning items,

   and the same personal protective equipment.” [Id. at 19.] Petitioners-Plaintiffs have asked

   this Court to provide “a comprehensive plan that addresses all people being detained by

   Respondents at the three facilities.” [Id. (emphasis added).]

          Not only that, the Court has already granted Petitioners-Plaintiffs common relief on

   this basis. The Court’s April 30 Temporary Restraining Order [ECF 76] mentions not one

   fact specific to the Named Petitioners-Plaintiffs. And yet, the Court had no trouble finding

   that the all of Named Petitioners-Plaintiffs have shown a likelihood of success on the merits.

   [Id. at 6-7 (constitutional claims), 9 (Accardi claim).] The Court then awarded relief that will

   benefit everyone detained at Krome, Glades, and BTC. It mandated that ICE “comply with

   the CDC and ICE guidelines on providing adequate amounts of soap and water and cleaning

   materials to detainees at each of the three detention centers at issue.” [Id. at 11 (emphasis

   added).] It required ICE to provide “masks to all detainees” to be replaced “at least once per

   week.” [Id. (emphasis added).] It further ordered ICE to “provide education and training

   about measures to reduce the health risks associated with COVID-19 to all staff members




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   and detainees and to any new detainees or employees . . . without any costs to the detainees.”

   [Id. (emphasis added).]

          Given the virulent, highly communicable nature of the airborne, novel coronavirus,

   the measures the Court has ordered benefit every person held at those three facilities. And

   yet, the Court has provided this common relief without delving into the particulars of a single

   Petitioners-Plaintiff. The Court’s ability to order common relief based solely on common

   issues stands in stark contrast to the individualized release evaluations that drove the Money

   court’s conclusions.       Petitioners-Plaintiffs therefore submit that Money is not analogous

   precedent; rather, the analogous precedents are the decisions outlined in our reply that

   certified class actions.

   Date: May 18, 2020

                                                       Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on the 18th day of May, 2020, I electronically filed the foregoing

   with the Clerk of Court using the CM/ECF system, which will then send a notification of

   such filing (NEF) to all counsel of record.

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